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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:02CR353
                                              )
              Plaintiff,                      )
                                              )                MEMORANDUM
              vs.                             )                 AND ORDER
                                              )
BARRY RENFOLD COOLEY,                         )
                                              )
              Defendant.                      )

       This matter is before the Court on the motions filed by the Defendant, Barry Renfold

Cooley, to: vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255

(“§ 2255 motion”) (Filing No. 606); and amend his § 2255 motion (Filing No. 611).

MOTION TO AMEND

       The motion to amend is denied. Cooley asserts that he wishes to amend his § 2255

motion by adding transcripts, state court records and other documents. (Filing No. 611,

¶ 7.) Such documents are not necessary for the Court’s initial review of the § 2255 motion,

and good cause has not been shown as required for the submission of discovery. RULES

GOVERNING SECTION 2255 PROCEEDINGS, RULE 6(A).

§ 2255 MOTION

       Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States

District Courts requires initial review of a § 2255 motion, and describes the initial review

process:

       The judge who receives the motion must promptly examine it. If it plainly
       appears from the motion, any attached exhibits, and the record of prior
       proceedings that the moving party is not entitled to relief, the judge must
       dismiss the motion and direct the clerk to notify the moving party. If the
       motion is not dismissed, the judge must order the United States attorney to

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       file an answer, motion, or other response within a fixed time, or to take other
       action the judge may order.

                                FACTUAL BACKGROUND

       Cooley was found guilty after a jury trial of Count I of the Indictment charging him

with conspiracy to distribute and possess 50 grams or more of a mixture or substance

containing a detectable amount of cocaine base. (Filing No. 336.) The day before trial,

the government timely filed a notice of prior convictions, or Information (Filing No. 279),

alleging two prior felony drug convictions. The Information charges the following prior

convictions: 1) a January 13, 1988, conviction for possession of a narcotic controlled

substance for sale for which Cooley was allegedly sentenced to 180 days in jail and 36

months probation; and 2) a January 9, 1990, conviction for possession and/or purchase

of cocaine base for sale and transporting or selling a narcotic controlled substance, for

which Cooley was reportedly sentenced to 4 years imprisonment. Serving the notice on

defense counsel satisfied the service requirement set out in 21 U.S.C. § 851(a)(1). (Filing

No. 279.) The record does not reflect that Cooley was advised of the Information in court. 1

The notice was filed the day before trial and served on defense counsel, as required by §

851(a)(1). (Filing No. 279.) Cooley did not file a written objection to the information.

       The Revised Presentence Investigation Report (“PSR”) reflects the following prior

felony drug convictions: October 18, 1987, possession with intent to deliver crack cocaine;

August 16, 1989, possession of crack cocaine; and September 13, 1989, transportation



       1
        Section 851 sets out the procedures for advising the Defendant prior to the
imposition of sentence of the information, allowing him the opportunity to admit or deny the
conviction(s) therein, as well as the procedure for objecting in writing to the convictions in
an information.

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and selling crack cocaine. All three convictions arose in the Los Angeles County Superior

Court. It appears that the three cases were consolidated for sentencing, and Cooley

received 4 years imprisonment for each offense. (PSR, ¶¶ 62-64.) The January 13, 1988,

conviction listed as the first conviction in the Information does not appear in the PSR.

       Defense counsel objected to Cooley’s three prior felony convictions listed in ¶¶ 62-

64 of the PSR. At sentencing, the government met its burden in proving those three prior

convictions. (Filing No. 538 (“Tr. I”); Filing No. 539 (“Tr. II”), at 39-43.) Cooley had no

rebuttal evidence. (Tr. II, at 43.) Cooley’s objections to the PSR relating to other criminal

history points and the lack of a role reduction were granted. (Id. at 43-50.) Cooley’s base

offense level was 38, and after a minor role reduction under U.S.S.G. § 3B1.2(b) the total

offense level was stated to be 36. With placement in criminal history category IV, his

sentencing guideline range was stated as 262-327 months. The statutory range was said

to be 10 years to life imprisonment. (Id. at 50.) After additional discussion, the Assistant

United States Attorney, Nancy Svoboda, stated:

              MS. SVOBODA:          Judge, the way this has turned out is what I
       believe – where I believe this case is right now, a couple of things. Given the
       calculations that you have just made, Mr. Cooley’s sentencing guideline
       range is at 262 to 327 months.

             However, I submit to you, ma’am, that career offender applies which
       would place him at a level 37, criminal history VI.

               I also submit, ma’am, that based on what I believe the evidence is
       that’s been received, is that the United States has shown that Mr. Cooley has
       at least two prior drug felonies, the conviction that happened in this case, the
       case before you, 02-353, would be his third.

              Judge, the day before trial I filed an information on prior conviction
       which appears at filing number 279. It was filed on May 18, 2004. And we
       started trial, ma’am – started picking the jury on May 19.


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              Judge, according to the way the statute, 21 U.S.C. 851 and 21 U.S.C.
       841(b) and the subparagraph under that, it appears as though, ma’am, I
       believe Mr. Cooley should receive a life sentence.

(Id. at 52-53.)

       Ms. Svoboda explained further why she believed that a life sentence was required.

(Id. at 53-54.) The probation officer agreed with Ms. Svoboda. (Id. at 54.) Defense

counsel argued that a life sentence would be unfair given Cooley’s role in the offense and

the sentences of the other members of the conspiracy. 2

       The Court set out its guideline calculation resulting in a guideline range of 262-327

months, based on a total offense level of 36 and placement in criminal history category IV.


       2
         In the case of Erroll Flynn Shepard, an Information was filed listing one prior
conviction. (Filing No. 277.) The prior conviction was reflected in the PSR and sentencing
recommendation, and therefore a 20-year mandatory minimum sentence was required.
(Filing No. 454.) He was initially sentenced to 360 months (Filing No. 457), and on remand
to 300 months (Filing No. 595).

      Vincent Brown pleaded guilty and received a sentence of 46 months. (Filing No.
409.) An information alleging prior convictions was not filed.

        In Roy C. Straughn’s case, an Information was filed alleging two prior convictions.
(Filing No. 278.) The alleged mandatory life sentence was erroneously not reflected in the
PSR or sentencing recommendation. (Filing No. 523.) However, Straughn’s objection to
the information (Filing No. 477) apparently brought the issue to the Court’s attention. The
government was unable to meet its burden of proof with respect to those convictions.
(Filing No. 541 (Tr.), at 10, 22.) Straughan was sentenced to 360 months imprisonment.
(Filing No. 527.) His sentence was affirmed on appeal. (Filing No. 552.)

        The government filed an Information in Tony Skannell’s case. (Filing No. 283.) The
PSR and sentencing recommendation reflected the effect of the alleged prior conviction.
(Filing No. 486.) Because the Information was filed approximately two hours after voir dire
began, the filing was untimely and Skannell was not subject to a term of life imprisonment.
(Filing No. 440.) Skannell was sentenced to 360 months imprisonment. (Filing No. 466.)
He received the same sentence on remand. (Filing No. 593.)

        Oraina Fellows pleaded guilty and was sentenced to 40 months imprisonment.
(Filing No. 408.) An information alleging prior convictions was not filed.

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The Court, the parties and the probation officer neglected to account for the Chapter Four

career offender enhancement under U.S.S.G. § 4B1.1 in light of the Defendant’s prior

felony drug convictions in ¶¶ 62-64 of the PSR. Under § 4B1.1, the application of the

career offender guideline would have resulted in a sentencing guideline range of 360

months to life, based on a total offense level of 37 and placement in criminal history VI.

(Id., at 50.) When Ms. Svoboda raised the issue of a life sentence, the Court continued

the hearing to allow the parties the opportunity to research the issue of the potential life

sentence. (Id. at 57-58.) At the final sentencing hearing one month later, neither party

offered a basis upon which to argue that the Court was not bound to impose a life

sentence. (Filing No. 540 (“Tr. III”), at 64.) A life sentence was imposed. (Filing No. 515.)

Cooley filed a direct appeal, and the Eighth Circuit Court of Appeals affirmed his conviction

and sentence, noting that he was sentenced under the Information requiring a life

sentence. (Filing No. 552.) Cooley timely filed his § 2255 motion.

                                       DISCUSSION

       In his § 2255 motion, Cooley argues that he received ineffective assistance of

counsel, because his trial attorney, William L. Switzer, Jr., failed to: challenge the notice

of prior convictions enhancing his statutory sentencing range to a period of life

imprisonment; allow him to testify at trial; give him proper advice about the strength of the

evidence and the sentence he faced during plea negotiations; to file an application for a

writ of certiorari upon being requested to do so; and object to use of his prior convictions

where the convictions were not proved to a jury or decided by the Court beyond a

reasonable doubt.



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      In order to establish ineffective assistance of counsel, Cooley must satisfy both

prongs of the test articulated by the United States Supreme Court in Strickland v.

Washington, 466 U.S. 668 (1984). The performance prong requires a showing that

counsel performed outside the wide range of reasonable professional assistance and

made errors so serious that counsel failed to function as the kind of counsel guaranteed

by the Sixth Amendment. Id. at 687-89. The prejudice prong requires a movant to

demonstrate that seriously deficient performance of counsel prejudiced the defense. Id.

at 687.

Claim One: Challenge the Notice Under 21 U.S.C. § 851

      21 U.S.C. § 841(b) provides that if a defendant violates the statute after two or more

prior felony drug convictions, the defendant is subject to a mandatory life sentence.

Alternatively, with one qualifying prior conviction, the statutory mandatory minimum is

raised from 10 to 20 years. 21 U.S.C. § 851 sets out the procedure for: filing a notice of

prior convictions; objecting to the notice; and imposing sentence in the absence of an

objection when prior convictions have been proved.

      Under the circumstances, the record does not show that Cooley is not entitled to

relief. The government is required to answer this claim.

Claim Two: Allowing Defendant’s Testimony at Trial

      Cooley argues that his attorney did not allow him to testify at trial as Cooley wished.

The government is required to answer this claim.




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Claim Three: Advice Regarding Evidence and Sentence During Plea Negotiations

       Cooley contends that his attorney did not give him proper advice regarding the

strength of the government’s case and the sentence he faced during plea negotiations.

The government is required to answer this claim.

Claim Four: Filing of Application for Writ of Certiorari

       Cooley argues that his attorney failed to file an application for a writ of certiorari at

his direction. The government is required to answer this claim.

Claim Five: Blakely/Booker 3

       Cooley argues that his prior drug felonies set out in ¶¶ 62-64 of the PSR were

required to be proved to a jury beyond a reasonable doubt. However, the Eighth Circuit

has repeatedly stated that prior convictions are proved to the court under a preponderance

of the evidence standard. See, e.g., United States v. Pirani, 406 F.3d 543, 552 & n.4 (8th

Cir. 2005).

                                       CONCLUSION

       For the reasons discussed, the Court concludes that under Rule 4(b) the

Defendant’s fifth claim must be summarily denied. The government is required to answer

the remaining claims.

       IT IS ORDERED:

       1.     The Court has completed the initial review of the Defendant’s motion to

vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 (Filing No. 606);




       3
       Cooley was sentenced after Blakely v. Washington, 542 U.S. 296 (2004) but before
United States v. Booker, 543 U.S. 220 (2005).

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      2.     Upon initial review, the fifth claim raised in the Defendant’s § 2255 motion is

summarily denied (Filing No. 606);

      3.     On or before December 5, 2007, the United States shall answer claims one

through four in the Defendant’s § 2255 motion, supported by a brief;

      4.     On or before January 5, 2008, the Defendant may file a responsive brief;

      5.     The Defendant’s motion to amend (Filing No. 611) is denied; and

      6.     The Clerk is directed to mail a copy of this Memorandum and Order to the

Defendant at his last known address.

      DATED this 5th day of November, 2007.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge




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